                                              UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF OREGON

In re                                                   )               18-62424-tmr7
                                                            Case No. ________________
                                                        )
David Morgan Van Wie,                                   )   NOTICE OF DEBTOR'S
                                                        )   AMENDMENT OF MAILING LIST
Debtor(s)                                               )   OR SCHEDULES D, E, F, E/F, G AND/OR H


I. FILING INSTRUCTIONS FOR DEBTOR(S):
   A. File this form to add or delete creditors from the m ailing list and/or Schedules D, E, F, E/F, G and/or H , or change the
      am ount or classification of a debt listed on schedules D, E, F and/or E/F. An am endm ent filing fee is required.
   B. If filing in paper, you m ust also include a creditor m ailing list with ONLY the NEW or DELETED creditors listed in the
      form at set forth on Local Form 104. Be sure to label each set of changes (i.e., “Add”, “Delete”, etc.).
   C. If am ending Schedules D, E, F, E/F, G and/or H, label them as “Supplem ental” and include ONLY the NEW inform ation,
      and file them with this notice.
   D. If am ending Schedules D, E, F and/or E/ F, you m ust also file Official Form 106Sum for individual debtors, or Official
      Form 206Sum for non-individual debtors.
   E. If the case is closed, you m ust also file a separate Motion to Reopen with the applicable filing fee.
   F. To file an address change for a previously listed creditor, use Local Form 101C instead of this form .

II. SERVICE INSTRUCTIONS FOR DEBTOR(S):
    A. W hen adding creditors: Serve each new creditor with a copy of this notice, and a copy of any of the following
       docum ents that have already been filed in this case:
       1. (All chapters) The Notice of the Meeting of Creditors that includes all 9 digits of any Social Security Num ber (SSN)
       or Individual Taxpayer Identification Num ber (ITIN).
       2. (All chapters) Each applicable am ended schedule.
       3. (All chapters) W hen the tim e for filing a tim ely proof of claim or com plaint under 11 USC §523(c) or §727 has
           expired, a separate notification that adding the creditor m ay not result in discharge of the debt. [Note: You m ust
           create this notification.]
       4. (Chapter 7 or 11) Any order, and any supplem ental order, fixing tim e for filing a proof of claim form .
       5. (Chapter 9, 11, 12, or 13) (a) The notice of any pending confirm ation hearing, all related docum ents required to be
           sent with that notice and, in a Chapter 13 case, the m ost recent proposed plan; or (b) the m ost recent confirm ation
           order, the m ost recent confirm ed plan, and, if a confirm ed Chapter 11 plan, the approved disclosure statem ent related
           to the confirm ed plan.
       6. (Chapter 11, 12 or 13) Any notice of m odification of plan, including attachm ents, if tim e for objection has not expired.
       7. (Chapter 9 or 11 only) The nam es and addresses of the Chairperson and any attorney for each official Com m ittee
           of Creditors or Equity Security Holders.
       8. (Chapter 9 or 11) The notice of any pending hearing on a proposed disclosure statem ent, with attachm ents.
    B. W hen deleting creditors, changing a creditor status (e.g., nondisputed to disputed), or reducing a creditor’s
       claim: Serve each affected creditor with a copy of this notice, the applicable am ended schedule(s), and the following:
       1. (All chapters) A notice to each deleted creditor that: (a) the creditor is being deleted and will not receive further
           notices unless the creditor files a written request with the court that includes the debtor's nam e, full case num ber, and
           the creditor's nam e and m ailing address; and (b) if tim e has been fixed to file a proof of claim , the creditor should
           contact his/her attorney with any claim s questions.
       2. (Chapter 9 or 11) A notice to each affected creditor that a proof of claim m ust be filed by the later of either (a) 30
           days from the service date of this notice, or (b) the latest tim e fixed by the court.

III.  CERTIFICATE OF COM PLIANCE:
  The undersigned, who is the debtor or debtor's attorney, certifies that: (A) all applicable requirem ents above have been
com pleted; AND (B) the attachm ents are true and correct [or were individually verified by the debtor(s)].

         10/08/18
Dated: __________                           /s/ Todd Trierweiler - OSB #85348
                                            Signature

                                            Todd Trierweiler - 503/253-7777
                                            Type or Print Signer's Nam e AND Phone No.

                                            2086 Potter Street, Eugene, Oregon 97405                                             4949
                                            Debtor’s Address & Taxpayer ID#(s) (last 4 digits)


728 (12/1/15)




                                   Case 18-62424-tmr7             Doc 17       Filed 10/08/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON-CH.7

 Case number           18-62424-tmr7
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             765,576.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                9,663.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             775,239.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $         10,256,909.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $              28,677.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             779,535.00


                                                                                                                                     Your total liabilities $               11,065,121.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                6,750.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                7,354.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                                      Case 18-62424-tmr7                            Doc 17             Filed 10/08/18
 Debtor 1      David Morgan Van Wie                                                       Case number (if known) 18-62424-tmr7

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $             7,312.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            21,365.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             28,677.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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                                                  Case 18-62424-tmr7             Doc 17         Filed 10/08/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number           18-62424-tmr7
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:                $507,061.00               $765,576.00                     $0.00
         Creditor's Name
                                                  2086 Potter St. Eugene, OR 97405
                                                  Lane County
                                                  As of the date you file, the claim is: Check all that
         POB 31785                                apply.
         Tampa, FL 33631-3785                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated                                                    Correcting Amount of Debt
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2017                      Last 4 digits of account number        5640

 2.2     Cach LLC                                 Describe the property that secures the claim:                  $14,193.00              $765,576.00           $14,193.00
         Creditor's Name
                                                  2086 Potter St. Eugene, OR 97405
                                                  Lane County
         6801 S. Cimarron Road
                                                  As of the date you file, the claim is: Check all that
         #424H                                    apply.
         Las Vegas, NV 89113                       Contingent                                                      Adding Creditor
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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                                                  Case 18-62424-tmr7                       Doc 17           Filed 10/08/18
 Debtor 1 David Morgan Van Wie                                                                             Case number (if know)          18-62424-tmr7
              First Name                  Middle Name                     Last Name



        Lane County
 2.3                                                                                                                       $0.00             $765,576.00                  $0.00
        Assessment & Taxation                      Describe the property that secures the claim:
        Creditor's Name
                                                   2086 Potter St. Eugene, OR 97405
                                                   Lane County
                                                   As of the date you file, the claim is: Check all that
        125 East 8th Ave.                          apply.
        Eugene, OR 97401                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                                                                                       Correcting Amount of Debt
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         11/2017                     Last 4 digits of account number        5478


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $521,254.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $521,254.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
         Cach LLC
         c/o Mandarin Law Group                                                                     Last 4 digits of account number
         9200 Oakdalen Avenue #601
         Chatsworth, CA 91311

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
         Clear Recon Corp.
         TS No. 061729-OR                                                                           Last 4 digits of account number   29OR
         111 SW Columbia St., #950
         Portland, OR 97201

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
         Lane County Circuit Court
         Case No. 15CV09322                                                                         Last 4 digits of account number
         125 East Eighth Avenue
         Eugene, OR 97401




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 2 of 2
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                                                  Case 18-62424-tmr7                        Doc 17           Filed 10/08/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number           18-62424-tmr7
 (if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          State of Oregon                                        Last 4 digits of account number       1448               $5,988.00                   $0.00             $5,988.00
              Priority Creditor's Name
              Bureau of Labor & Industries                           When was the debt incurred?
              800 NE Oregon St., #1045
              Portland, OR 97232
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated                                                Correcting Amount of
         Debtor 2 only                                               Disputed                                                    Priority Debt
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a     community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            wage claim filed by William N. Wilkins

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 3
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                                                  Case 18-62424-tmr7                         Doc 17           Filed 10/08/18
 Debtor 1 David Morgan Van Wie                                                                             Case number (if know)         18-62424-tmr7

 4.1       Alexander Goldberg                                        Last 4 digits of account number        EVTA                                                $369,355.00
           Nonpriority Creditor's Name
           c/o Kingsley & Kingsley, APC                              When was the debt incurred?            5/2/2018
           No. 56-2017-00496057-CU-OE-VTA
           16133 Ventura Blvd., Suite 1200
           Encino, CA 91436
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated                                     Moving Creditor From "D"
            Debtor 1 and Debtor 2 only                               Disputed                                         to "E/F".
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community                Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Judgment


 4.2       Sierra Springs                                            Last 4 digits of account number                                                                 $539.00
           Nonpriority Creditor's Name
           POB 660579                                                When was the debt incurred?
           Dallas, TX 75266-0579
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated                           Adding Creditor
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     water delivery services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kingsley & Kingsley, APC                                      Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 16133 Ventura Blvd., Suite 1200                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Encino, CA 91436
                                                               Last 4 digits of account number                  EVTA

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ventura County Superior Court                                 Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 No. 56-2017-00496057-CU-OE-VTA                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 POB 6489
 Ventura, CA 93006
                                                               Last 4 digits of account number                  EVTA

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 William N. Wilkins                                            Line 2.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 709 Vest Dr.                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Warrensburg, MO 64093
                                                               Last 4 digits of account number                  1448

 Part 4:      Add the Amounts for Each Type of Unsecured Claim


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 3
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                                                  Case 18-62424-tmr7                        Doc 17          Filed 10/08/18
 Debtor 1 David Morgan Van Wie                                                                          Case number (if know)    18-62424-tmr7
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                 5,988.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                 5,988.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $              369,894.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $              369,894.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 3
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                                                  Case 18-62424-tmr7                     Doc 17          Filed 10/08/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF OREGON-CH.7

 Case number           18-62424-tmr7
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Aventurine Capital Management, LLC                                                    Schedule D, line
                2086 Potter St.                                                                       Schedule E/F, line         4.1
                Eugene, OR 97405
                                                                                                      Schedule G
                                                                                                     Alexander Goldberg



    3.2         Aventurine Capital Management, LLC                                                    Schedule D, line
                2086 Potter St.                                                                       Schedule E/F, line         4.35
                Eugene, OR 97405
                                                                                                      Schedule G
                                                                                                     Tom Nivison




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 7
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                                                     Case 18-62424-tmr7             Doc 17       Filed 10/08/18
 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.15
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Gordon Rees et al



    3.4      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.11
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Drake's Bay



    3.5      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.19
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Heritage Ventures



    3.6      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.32
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Renvent, LLC



    3.7      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.18
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         GuidePoint Law



    3.8      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.9
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Daniel Meyers



    3.9      Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.8
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Comcast



    3.10     Aventurine Capital Management, LLC                                           Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.17
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Gregory & Elizabeth Davis




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 2 of 7
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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      2.5
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         State of California



    3.12     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      2.1
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         California EDD



    3.13     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.28
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         National Registered Agents, Inc.



    3.14     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      2.2
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         City of Tacoma



    3.15     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.16
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Graham Landscape & Design



    3.16     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.13
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Farmer's Group, Inc.



    3.17     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.4
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Capital One



    3.18     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      2.7
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         State of Oregon




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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.23
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Lane County Circuit Court



    3.20     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.24
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Lane County Circuit Court



    3.21     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.25
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Lane County Circuit Court



    3.22     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      2.8
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         State of Oregon



    3.23     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.14
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         FasTrak



    3.24     DVW Capital, Inc.                                                            Schedule D, line
             2086 Potter St.                                                              Schedule E/F, line      4.10
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Diamond Parking Services, LLC



    3.25     Gregory & Elizabeth Davis                                                    Schedule D, line
             21626 Panorama Drive                                                         Schedule E/F, line      4.8
             Golden, CO 80401
                                                                                          Schedule G
                                                                                         Comcast



    3.26     Gregory & Elizabeth Davis                                                    Schedule D, line
             21626 Panorama Drive                                                         Schedule E/F, line      2.5
             Golden, CO 80401
                                                                                          Schedule G
                                                                                         State of California




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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.27     Sydney Marie Claire Plavins                                                  Schedule D, line       2.3
             P.O. Box 5610                                                                Schedule E/F, line
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         CSO Financial, Inc.



    3.28     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.1
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Alexander Goldberg



    3.29     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.11
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Drake's Bay



    3.30     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.15
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Gordon Rees et al



    3.31     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.19
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Heritage Ventures



    3.32     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.32
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Renvent, LLC



    3.33     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.18
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         GuidePoint Law



    3.34     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.9
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Daniel Meyers




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 5 of 7
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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.35     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      4.8
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         Comcast



    3.36     Sydney Marie Claire Plavins                                                  Schedule D, line
             PO Box 5610                                                                  Schedule E/F, line      2.5
             Eugene, OR 97405
                                                                                          Schedule G
                                                                                         State of California



    3.37     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.11
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Drake's Bay



    3.38     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.15
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Gordon Rees et al



    3.39     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.19
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Heritage Ventures



    3.40     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.32
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Renvent, LLC



    3.41     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.18
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         GuidePoint Law



    3.42     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.9
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Daniel Meyers




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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)   18-62424-tmr7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.43     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      4.8
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         Comcast



    3.44     Tom Nivison                                                                  Schedule D, line
             4914 N. 10th St.                                                             Schedule E/F, line      2.5
             Tacoma, WA 98406
                                                                                          Schedule G
                                                                                         State of California




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                                                  Case 18-62424-tmr7    Doc 17      Filed 10/08/18
 Fill in this information to identify your case:

 Debtor 1                    David Morgan Van Wie
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number              18-62424-tmr7
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Amended Schedules
                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the Amended Summary of Schedules and Amended Schedules "D" and "E/F" filed with
       this declaration and that they are true and correct to the best or my knowledge and belief..

        X /s/ David Morgan Van Wie                                                  X
              David Morgan Van Wie                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       October 8, 2018                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Van Wie, David - 18-62424-tmr7 - Pg. 1 of 1
Cach LLC
6801 S. Cimarron Road #424H
Las Vegas, NV 89113

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Cach LLC
c/o Mandarin Law Group
9200 Oakdalen Avenue #601
Chatsworth, CA 91311


Lane County Circuit Court
Case No. 15CV09322
125 East Eighth Avenue
Eugene, OR 97401


Sierra Springs
POB 660579
Dallas, TX 75266-0579




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